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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,
                                                       Civil Action No.: 2:20-CV-966-NR
                Plaintiffs,

       v.

KATHY BOOCKVAR; et al.,

                Defendants.


                      CERTIFICATION FOR PRO HAC VICE ADMISSION

        Pursuant to Local Rule 83.2 (B), I, Dale E. Ho, hereby attest that the following is true

 and correct:

        1. I have read, know and understand the Local Rules of Civil Procedure for the United
              States District Court for the Western District of Pennsylvania; and

        2. I am a registered user of the ECF for the United States District Court for the
              Western District of Pennsylvania.

                                                  Respectfully submitted,

 Date: July 22, 2020                            s/ Dale E. Ho
                                                Dale E. Ho
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